                Case 2:04-cr-00214-WHA-KFP Document 399 Filed 09/11/08 Page 1 of 3
  A0 245D (Rev. 12/07) Judgment in a Criminal Case for Revocations
            Sheet 1


                                    UNITED STATES DISTRICT COURT
                                                       Middle District of Alabama
         UNITED STATES OF AMERICA                                        Judgment in a Criminal Case
                             V.                                          (For Revocation of Probation or Supervised Release)


                XAVIER HOPKINS                                           Case No             2 :04cr2 1 4-WI-IA-03
                                                                         USMNo.              11550-002
                                                                                                       Aylia McKee
                                                                                                     Defendant's Attorney
THE DEFENDANT:
LI admitted guilt to violation of condition(s) ___________________________ of the term of supervision.
X was found in violation of condition(s)              1, 2 and 3 of the petition       after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                                   Violation Ended
                             Failure to refrain from committing another federal, state or local crime                   7/5/08
                             Failure to refrain from possessing a controlled substance                                  7/5/08
                             Failure to notify probation officer within 72 hours of being arrested                      7/10/08




       The defendant is sentenced as provided in pages 2 through              3        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
LI The defendant has not violated condition(s)                               and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 1701                                                 September 10. 2008
                                                                                         -       Date of Imposi on o udgment
Defendant's Year of Birth:        1981

City and State of Defendant s Residence:                                                              Signature of Judge       ..../'
                   Montgomery, AL
                                                                                   W. Harold Alhritton Senior U. S. District Judge
                                                                                                   Name and Title of Judge

                                                                               /j            /
                                                                          1/
                                                                                                            Date
                                                                                       /
               Case 2:04-cr-00214-WHA-KFP Document 399 Filed 09/11/08 Page 2 of 3
AO 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
            Sheet 2— Imprisonment

                                                                                                   Judgment - Page   2   of     3
DEFENDANT:                   XAVIER HOPKINS
CASE NUMBER:                 2:04cr214-WHA


                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
total term of:
36 months with no supervision to follow.
It is ORDERED that the term of supervised release imposed on November 29, 2005, is REVOKED. The court has taken into
consideration the policy statements in Chapter 7 of the Guidelines Manual, the guideline range, and all relevant information in
imposing the sentence at 36 months, which the court finds to be sufficient, but not greater than necessary, (continued on page 3)


     X The court makes the following recommendations to the Bureau of Prisons:

         The court recommends that the Defendant be designated to a facility where drug treatment is available.



     X The defendant is remanded to the custody of the United States Marshal.

     O The defendant shall surrender to the United States Marshal for this district:
         oat ___________________ 0 a.m. 0 p.m. on ______
         o as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         Dbefore 2 p.m. on ___________________________
         o as notified by the United States Marshal.
         o as notified by the Probation or Pretrial Services Office.

                                                                       RETURN

I have executed this judgment as follows:




        Defendant delivered on                                                         to

at                                                  with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                          By
                                                                                            DEPUTY UNITED STATES MARSHAL
              Case 2:04-cr-00214-WHA-KFP Document 399 Filed 09/11/08 Page 3 of 3
AO 245D    (Rev. 12/07) Judgment in a Criminal Case for Revocations
           Sheet 2A - Imprisonment
                                                                                               Judgment—Page     3     of       3
DEFENDANT:     XAVIER HOPKINS
CASE NUMBER: 2:04cr214-WHA

                                             ADDITIONAL IMPRISONMENT TERMS

to comply with the purposes set forth in paragraph (2) of 18 USC § 3553.

The court departs upward from the recommended guidelines for the following reasons: to reflect the seriousness of the offense of
absconding after commission of a drug related crime, to promote respect for the law, to provide just punishment for the offense, to
afford adequate deterrence to similar criminal conduct, to protect the public from further crimes of the Defendant, and to provide
the Defendant an opportunity for needed drug counseling and treatment.
